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                           IN THE UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF ARKANSAS
                                   TEXARKANA DIVISION

LAVARIOUS JONES                                                                        PLAINTIFF

v.                                      Civil No. 4:19-cv-04139

SERGEANT GRIFFIE, Miller County Detention Center
(“MCDC”); CAPTAIN ADAMS, MCDC; OFFICER
GOLDEN, MCDC; and CORPORAL MOORE, MCDC                                             DEFENDANTS


                                               ORDER

          Plaintiff Lavarious Jones filed this civil rights action pursuant to 42 U.S.C. § 1983 on

October 22, 2019. (ECF No. 1). Currently before the Court is Plaintiff’s Motion of Complaint

and Injunction to be Transferred. (ECF No. 28). Most of Plaintiff’s Motion asserts claims of

retaliation by staff of the Greene County, Arkansas, Jail, the facility Plaintiff is currently being

housed. Those claims, and any relief Plaintiff requests with respect to retaliation, must be

addressed in a separate lawsuit the Eastern District of Arkansas.

          However, Plaintiff also complains that Green County Jail administration have not allowed

him to view video footage associated with this case and the Court will GRANT the Motion in that

regard.

          By separate Order, the Court will direct jail administration to allow Plaintiff to view the

video footage by July l7, 2020. Further, Plaintiff will be allowed to supplement his response to

the Defendants’ Motion for Summary Judgment by July 24, 2020, if needed after viewing the video

footage.

          IT IS SO ORDERED THIS 30th day of June 2020.

                                                         /s/ Barry A. Bryant
                                                         HON. BARRY A. BRYANT
                                                         UNITED STATES MAGISTRATE


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